             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI

JANE ROE,                                )
                                         )
             Plaintiff,                  )
                                         )
v.                                       )       Case No. 2:23-cv-04129-BCW
                                         )
ANNE PRECYTHE, et al.                    )
                                         )
              Defendants.                )
                                         )

             MOTION TO STAY AND SUGGESTIONS IN SUPPORT

      COME NOW Defendants, by and through the undersigned counsel, and move this

Court to stay proceedings, including holding in abeyance all deadlines contained in the

scheduling order. In support of this motion, Defendants state:

1.    On September 12, 2024, counsel of record for Plaintiff Jane Roe notified Defendants

      of Plaintiff’s passing.

2.    Defendants filed suggestions of Plaintiff’s death on September 27, 2024. See Doc.

      94; see also Higgins v. Deep Discounts LLC, 4:18-CV-00084-PLC, 2018 WL

      10498313, at *2 (E.D. Mo. Aug. 17, 2018) Wright & Miller, 7C Fed. Prac. & Proc.

      § 1955 (3d ed. 2018) (“It has been held that the attorney for the deceased party may

      not make the statement noting death since the attorney is not a party to the action

      and, since the attorney's authority to represent the deceased terminated on the death,

      the attorney is not a representative of the decedent of the sort contemplated by the

      rule.”).



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3.     “[T]he power to stay proceedings is incidental to the power inherent in every court

       to control the disposition of the causes on its docket with economy of time and effort

       for itself, for counsel, and for litigants.” Cottrell v. Duke, 737 F.3d 1238, 1248 (8th

       Cir. 2013) (citing Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)); see also

       McKeage v. Bass Pro Outdoor World, L.L.C., No. 12-03157-CV-S-GAF, 2014 WL

       12754994, at *4 (W.D. Mo. Apr. 10, 2014) (“[I]t is within a court’s inherent power

       to manage its docket and discovery matters.”). A court has “broad discretion to stay

       proceedings when appropriate to control [its] docket.” Gould v. Farmers Ins. Exch.,

       326 F.R.D. 530, 531 (E.D. Mo. 2018) (citing Sierra Club v. U.S. Army Corps of

       Engineers, 446 F.3d 808, 816 (8th Cir. 2006)). In considering whether a stay is

       appropriate, district courts must weigh the competing interests of the parties,

       including the potential of prejudice or hardship to either party as well as concerns

       of judicial economy. See Gould, 326 F.R.D. at 531 (citation omitted). “The party

       requesting a stay bears the burden of establishing the need for a stay.” Tovar v.

       Essentia Health, 342 F. Supp. 3d 947, 957 (D. Minn. 2018).

4.     A stay is warranted because of Plaintiff’s death. As it stands, Defendants cannot

       litigate this case without a Plaintiff. Judicial economy also weighs in favor of a stay,

       as it is proper to stay proceedings until the substitution of a proper party pursuant to

       Rule 25.

       WHEREFORE, the Defendants respectfully request the Court to issue an Order

staying proceedings, including holding in abeyance all deadlines in the scheduling order,

and for such other relief as deemed just and proper.

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                                                    Respectfully submitted,

                                                    ANDREW BAILEY
                                                    Attorney General

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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was electronically filed on October 2,

2024, with the Clerk of the Court using the CM/ECF system, which will send a notice of

electronic filing to all attorneys of record.

                                                    /s/ Adam J. Merello




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